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                          UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF CALIFORNIA
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     SEOUL LASER DIEBOARD                        CASE NO. 15-cv-1212-H-DHB
10   SYSTEM CO., LTD., a South Korean
     corporation,                                ORDER
11
                 Plaintiff-Counterdefendant,     (1) GRANTING IN PART SEOUL
12                                               LASER DIEBOARD SYSTEM CO.,
                                                 LTD.’S MOTION TO DISMISS
13          v.                                   COUNTERCLAIMS
14                                               (2) DENYING SEOUL LASER
     COMPUTERIZED CUTTERS, INC.,                 DIEBOARD SYSTEM CO., LTD.’S
15   a Texas corporation,                        MOTION TO STRIKE DEFENSES
16               Defendant-Counterclaimant.      [Doc. No. 33.]
17
18         On June 22, 2015, Seoul Laser Dieboard System Co., Ltd. (“SDS”) filed this
19 case against Computerized Cutters, Inc. (“CCI”), asserting claims for breach of contract
20 and patent infringement. (Doc. No. 1.) On September 8, 2015, CCI filed an answer
21 and countercomplaint. (Doc. No. 23.) On September 29, 2015, CCI filed an amended
22 answer and countercomplaint. (Doc. No. 30.) On October 15, 2015, SDS moved to
23 dismiss two of CCI’s counterclaims and strike seven of its affirmative defenses.
24 (Doc. No. 33.) CCI responded on November 9, 2015. (Doc. No. 35.) SDS replied on
25 November 16, 2016. (Doc. No. 38.) On November 18, 2015, the Court submitted the
26 motions on the filings pursuant to Civil Local Rule 7.1(d)(1). (Doc. No. 41.) For the
27 reasons set forth below, the Court grants in part and denies in part SDS’s motion to
28 dismiss and denies its motion to strike.

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 1                                    BACKGROUND
 2 A.      The Complaint
 3         In its complaint, SDS asserts one claim for breach of contract and six claims
 4 of patent infringement. (Doc. No. 22.)1 SDS is a South Korean corporation with its
 5 principal place of business in San Diego, California. (Id. ¶ 7.) SDS is in the machine
 6 tooling business, developing technology and producing products for bending and
 7 cutting metallic and other related materials. (Id. ¶ 9.) With the sale of its machines,
 8 including its EasyBender machines, SDS has captured approximately 80% of the U.S.
 9 market for die-cutting, folding, and bending machines. (Id. ¶ 10.) SDS is the current
10 assignee of U.S. Patent No. 6,128,940 (“the ‘940 patent”); U.S. Patent No. 5,870,919
11 (“the ‘919 patent”); U.S. Patent No. 6,405,574 (“the ‘574 patent”); U.S. Patent No.
12 5,787,750 (“the ‘750 patent”); U.S. Patent No. 7,694,543 (‘the ‘543 patent”); and U.S.
13 Patent No. 8,327,679 (“the ‘679 patent”). (Id. ¶¶ 14–19.)
14         CCI is a Texas corporation. (Id. ¶ 8.) Like SDS, CCI operates in the machine
15 tooling business and makes, uses, and sells machine tools for bending metallic material,
16 including the Accu-Bend machine. (Id. ¶ 11.) According to SDS, CCI has slavishly
17 copied SDS’s technology and uses it in all of CCI’s machines. (Id. ¶¶ 23–24.)
18         Before June 2007, SDS discovered that CCI was infringing one or more claims
19 in at least three of its patents, the ‘940 patent, the ‘919 patent, and the ‘574 patent.
20 (Id. ¶ 26.) In June 2007, SDS filed an infringement action against CCI in this district,
21 Seoul Laser Dieboard System Co. Ltd. v. Computerized Cutters, Inc., No. 7-cv-1005
22 JAH (CAB). (Id. ¶ 27.) In December 2007, the parties entered a settlement agreement
23 and dismissed the case. (Id. ¶¶ 30–36.) They agreed, among other things, to keep
24 certain aspects of their settlement confidential. (Id. ¶¶ 31, 38–39.) They also agreed
25 that if either party breached, the other party would have the right to terminate after
26 serving notice of the breach and allowing a sixty-day cure period. (Id. ¶ 35.)
27
           1
           Doc. No. 22 is a less redacted version of the initial complaint, Doc. No. 1.
28 SDS filed an unredacted version under seal. (Doc. No. 18.)

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 1         On March 6, 2012, CCI notified SDS of a material breach of the agreement by
 2 SDS. (Id. ¶¶ 38–40.) According to SDS, it took immediate steps to cure the alleged
 3 breach. (Id. ¶ 41.) On March 15, 2012, SDS sent CCI a letter describing its efforts.
 4 (Id. ¶ 42.) SDS received no further communication about any breach until February 1,
 5 2013, when CCI informed SSD that CCI was continuing to evaluate the breach and
 6 would continue to perform its obligations under protest, pending a judicial
 7 determination of the impact of SDS’s failure to cure. (Id. ¶ 43.) On April 27, 2015,
 8 SDS notified CCI that CCI had failed to fulfill its obligations under the agreement
 9 during 2013, 2014, and part of 2015, and SDS intended to pursue legal action if CCI
10 did not correct the problem. (Id. ¶ 48.) CCI responded that it was refusing to perform
11 based on SDS’s 2012 breach and a second occurrence in 2014, and that it was
12 exercising its right to terminate the agreement. (Id. ¶ 50.) CCI also claims that its
13 products have been redesigned and do not infringe SDS’s patents. (Id. ¶ 52.) SDS
14 disagrees. (Id. ¶¶ 61–96.)
15 B.      The Answer and Countercomplaint
16         In its amended answer and countercomplaint, CCI denies that it is infringing
17 SDS’s patents. (Doc. No. 30 ¶ 3.) According to CCI, the agreement terminated
18 automatically on May 7, 2012, sixty days after CCI notified SDS of its material breach.
19 (Id. ¶ 49.) Additionally, CCI claims that agreement also terminated after CCI
20 redesigned its product and sold more than 47 units, the number of units required for
21 termination under the agreement. (Id.) CCI asserts twelve affirmative defenses:
22 (1) failure to state a claim; (2) estoppel; (3) consent; (4) unclean hands; (5) res judicata
23 / collateral estoppel; (6) release / waiver; (7) prior material breach; (8) condition
24 precedent; (9) lack of Article III standing; (10) statute of limitations; (11) laches; and
25 (12) reservation to assert other defenses. (Id. ¶¶ 71–88.) CCI also asserts three
26 counterclaims: (1) declaratory judgment; (2) unfair competition under California’s
27 Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq.; and
28 (3) breach of contract. (Id. ¶¶ 108–20.)

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 1                                       DISCUSSION
 2 A.      Motion to Dismiss
 3         SDS moves to dismiss two of CCI’s three counterclaims under Federal Rule of
 4 Civil Procedure 12(b)(6) and 9(b). (Doc. No. 33 at 2.) A motion to dismiss under
 5 Federal Rule of Civil Procedure 12(b)(6) tests the legal sufficiency of the pleadings and
 6 allows a court to dismiss a complaint if the plaintiff has failed to state a claim upon
 7 which relief can be granted. See Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001).
 8 Generally, a complaint must satisfy only the minimal notice requirements of Federal
 9 Rule of Civil Procedure 8(a)(2) to avoid dismissal on a Rule 12(b)(6) motion. See
10 Porter v. Jones, 319 F.3d 483, 494 (9th Cir. 2003). Rule 8(a)(2) requires pleadings to
11 contain “a short and plain statement of the claim showing that the pleader is entitled
12 to relief.” Fed. R. Civ. P. 8(a)(2). The complaint “must contain sufficient factual
13 matter, accepted as true, to state a claim for relief that is plausible on its face.”
14 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted). A
15 complaint can be dismissed only if it “lacks a cognizable legal theory or sufficient facts
16 to support a cognizable legal theory.” Mendiondo v. Centinela Hosp. Med. Ctr., 521
17 F.3d 1097, 1104 (9th Cir. 2008). Courts “are not bound to accept as true a legal
18 conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678 (internal quotation
19 marks omitted).
20         Separately, Federal Rule of Civil Procedure 9(b) provides that a party must plead
21 the circumstances of fraud with particularity, including the “who, what, when, where,
22 and how of the misconduct charged.” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
23 1106 (9th Cir. 2003) (internal quotation marks omitted). A motion to dismiss for
24 failure to plead with the requisite particularity “is the functional equivalent of a motion
25 to dismiss under Rule 12(b)(6).” Id. at 1107.
26         1.     Declaratory Judgment
27         In its counterclaim for declaratory relief, CCI requests a judicial determination
28 of the parties’ rights and duties under the agreement. (Doc. No. 30 ¶¶ 108–112.)

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 1 SDS contends that the Court should dismiss this counterclaim because it is duplicative
 2 of CCI’s breach-of-contract counterclaim, its affirmative defenses, and other matters
 3 already before the court. (Doc. No. 33-1 at 17–20.) The Court declines to dismiss the
 4 declaratory-judgment counterclaim on this ground.
 5         Under the Declaratory Judgment Act, 28 U.S.C. § 2201, “any court of the United
 6 States, upon the filing of an appropriate pleading, may declare the rights and other legal
 7 relations of any interested party seeking such declaration, whether or not further relief
 8 is or could be sought.” The Declaratory Judgment Act gives courts “unique and
 9 substantial discretion in deciding whether to declare the rights of litigants.” Wilton
10 v. Seven Falls Co., 515 U.S. 277, 286–87 (1995); see Leadsinger, Inc. v. BMG Music
11 Pub., 512 F.3d 522, 533 (9th Cir. 2008) (“[I]t is within a district court’s discretion to
12 dismiss an action for declaratory judgment.”).
13         While SDS has cited cases where courts dismissed declaratory judgment claims
14 brought alongside the same substantive claims, courts are not required to do so. See
15 Fed. R. Civ. P. 57 advisory committee note (“[T]he fact that another remedy would be
16 equally effective affords no ground for declining declaratory relief.”); Powell v.
17 McCormack, 395 U.S. 486, 518 (“[A] request for declaratory relief may be considered
18 independently of whether other forms of relief are appropriate.”). Additionally,
19 CCI has alleged a dispute over the scope of agreement. (See Doc. No. 30 ¶ 81.)
20 Accordingly, the Court declines to dismiss CCI’s counterclaim for declaratory relief.
21         2.     Unfair Competition
22         CCI’s second counterclaim is for violation of California’s Unfair Competition
23 Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq. The UCL establishes three
24 distinct types of unfair competition that are independently actionable: “unlawful,”
25 “unfair,” and “fraudulent.” See Cal. Bus. & Prof. Code § 17200; Cel-Tech Comms.,
26 Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). CCI alleges:
27
           114. SDS has engaged in unlawful, unfair or fraudulent business
28         practices . . . in connection with its relationship with CCI including, but
           not limited to the systematic violation of the terms of the Confidential

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 1         License Agreement through countless improper disclosures of the
           existence of that agreement, disclosure of the content of that agreement
 2         and utilization of the existence and terms of the agreement to promote its
           products and to denigrate, disparage and cast aspersions upon the Accu-
 3         Bend machine made by CCI.
 4         115. SDS’s conduct, including its false promises to keep the
           Confidential License Agreement confidential, and its ongoing violations
 5         of Section 7.1 to gain competitive advantage over CCI violated the UCL.
 6 (Doc. No. 30 ¶¶ 114–15.) SDS contends that the Court should dismiss this counter-
 7 claim because CCI has not adequately alleged that SDS engaged in any unlawful,
 8 unfair, or fraudulent conduct. (Doc. No. 33-1 at 10–15.) The Court agrees.
 9                a.    Fraudulent
10         SDS contends that CCI’s “fraudulent” counterclaim fails because CCI did not
11 allege that members of the public would have been deceived, and the allegations are
12 also insufficiently particular under Rule 9(b). (Doc. No. 33-1 at 14–16.) For UCL
13 purposes, “a fraudulent business practice is one in which members of the public are
14 likely to be deceived.” Morgan v. AT&T Wireless Servs., Inc., 177 Cal. App. 4th
15 1235, 1254 (2009) (internal quotation marks omitted). Sophisticated companies are not
16 members of the general public. See Rosenbluth Int’l, Inc. v. Superior Court, 101 Cal.
17 App. 4th 1073, 1077–79 (2002). “Though many courts have described the scope of
18 business activities prohibited by § 17200 in sweeping terms, there is no case authority
19 that ‘fraudulent’ business acts are separately actionable by business competitors
20 absent a showing that the public, rather than merely the plaintiff, is likely to be
21 deceived.” Watson Labs., Inc. v. Rhone-Poulenc Rorer, Inc., 178 F. Supp. 2d 1099,
22 1121 (C.D. Cal. 2001). As a result, CCI is “ineligible to bring a claim under the
23 fraudulent prong for any alleged misrepresentations.” Cappella Photonics, Inc. v.
24 Cisco Sys., Inc., 77 F. Supp. 3d 850, 866 (N.D. Cal. 2014).
25         CCI concedes that its allegations are insufficiently particular under Rule 9(b).
26 (Doc. No. 35 at 20.) It requests leave to amend and asserts that it has alleged facts that
27 also constitute false advertising under § 43(a)(1)(B) of the Lanham Act and common
28 law trade libel. (Id.) Both theories require a false statement. See Jarrow Formulas,

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 1 Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835 n.4 (9th Cir. 2002) (false advertising
 2 under the Lanham Act); In re Kasler, 611 F.2d 308, 311 (9th Cir. 1979) (trade libel).
 3 Here, CCI claims that SDS disclosed confidential true information, not that it made
 4 false statements. Accordingly, the Court dismisses CCI’s “fraudulent” UCL claim.
 5                b.     Unfair
 6         Next, SDS contends that CCI’s “unfair” counterclaim fails because CCI did not
 7 allege any injury to competition. (Doc. No. 33-1 at 12–14.) In cases between business
 8 competitors, the California Supreme Court has imposed special rules:
 9         [W]e must require that any finding of unfairness to competitors under
           section 17200 be tethered to some legislatively declared policy or proof
10         of some actual or threatened impact on competition. We thus adopt the
           following test: When a plaintiff who claims to have suffered injury from
11         a direct competitor’s “unfair” act or practice invokes section 17200, the
           word “unfair” in that section means conduct that threatens an incipient
12         violation of an antitrust law, or violates the policy or spirit of one of those
           laws because its effects are comparable to or the same as a violation of the
13         law, or otherwise significantly threatens or harms competition.
14 Cel-Tech, 20 Cal. 4th at 186–87. “Injury to a competitor is not equivalent to injury to
15 competition; only the later is the proper focus of antitrust laws.” Id. at 186. Here, CCI
16 has alleged only an anti-competitive injury to itself, thus falling short of a cognizable
17 “unfair” claim under Cel-Tech.
18         CCI proposes that, if necessary, it can allege that SDS is engaging in bad-faith
19 patent litigation and patent misuse. (Doc. No. 35 at 18.) Both types of conduct can be
20 anti-competitive. See Handguards, Inc. v. Ethicon Inc., 601 F.2d 986, 993 (9th Cir.
21 1979) (bad-faith litigation); C.R. Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1372–73
22 (Fed. Cir. 1998) (patent misuse). But these allegations are not in the present complaint,
23 and CCI acknowledges its belief “that this action is a simple breach of contract and
24 licensing dispute that can be resolved solely on contract law.” (Doc. No. 35 at 19.)
25 Accordingly, the Court dismisses CCI’s “unfair” claim.
26                c.     Unlawful
27         SDS contends that CCI’s “unlawful” counterclaim fails because CCI did not
28 adequately plead that SDS engaged in unlawful conduct. (Doc. No. 33-1 at 11–12.)

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 1 The “unlawful” prong of the UCL borrows violations of other laws and makes them
 2 separately actionable. See Klein v. Chevron U.S.A., Inc., 202 Cal. App. 4th 1342, 1383
 3 (2012). Virtually any statute, law, or regulation can serve as a predicate for a UCL
 4 unlawful-practice violation. See id. But violations of the common law, such as breach
 5 of contract, are insufficient to support a UCL unlawful claim. See Shroyer v. New
 6 Cingular Wireless Servs., Inc., 622 F.3d 1035, 1044 (9th Cir. 2010) (“[A] common law
 7 violation such as breach of contract is insufficient.”); Boland, Inc. v. Rolf C. Hagen
 8 (USA) Corp., 685 F. Supp. 2d 1094, 1110 (E.D. Cal. 2010) (“A breach of contract,
 9 and by extension, a breach of the implied covenant of good faith and fair dealing, is not
10 itself an unlawful act for purposes of the UCL.”). Accordingly, this counterclaim fails
11 to the extent that it is premised solely on violations of the common law.
12         CCI points out, correctly, that “breach of contract may form the predicate for
13 Section 17200 claims, provided it also constitutes conduct that is unlawful, or unfair,
14 or fraudulent.” Puentes v. Wells Fargo Home Mortg., Inc., 160 Cal. App. 4th 638, 645
15 (2008) (ellipsis, emphasis, and internal quotation marks omitted). But CCI has alleged
16 only breach of contract, without any additional unlawful, unfair, or fraudulent conduct
17 as those terms apply to business competitors under the UCL. Accordingly, the Court
18 dismisses CCI’s “unlawful” UCL claim. The Court declines to grant leave to amend
19 at this time.
20 B.      Motion to Strike
21         SDS also argues that the Court should strike seven of CCI’s affirmative defenses.
22 (Doc. No. 33-1 at 20–23.) Federal Rule of Civil Procedure 12(f) permits courts to
23 strike “an insufficient defense” from a pleading. The purpose of a motion to strike is
24 “to avoid the expenditure of time and money that must arise from litigating spurious
25 issues by dispensing with those issues prior to trial.” Sydney-Vinstein v. A.H. Robins
26 Co., 697 F.2d 880, 885 (9th Cir. 1983). Motions to strike are “generally regarded with
27 disfavor because of the limited importance of pleading in federal practice, and because
28 they are often used as a delaying tactic.” Kohler v. Islands Restaurants, LP, 280 F.R.D.

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 1 560, 563–64 (S.D. Cal. 2012). “The key to determining the sufficiency of pleading an
 2 affirmative defense is whether it gives plaintiff fair notice of the defense.” Simmons
 3 v. Navajo Cnty., Ariz., 609 F.3d 1011, 1023 (9th Cir. 2010) (internal quotation marks
 4 omitted).
 5         SDS asserts that the Court should strike CCI’s first and twelfth defenses, failure
 6 to state a claim and reservation of the right to assert other defenses, because they are
 7 not true affirmative defenses. (Doc. No. 33-1 at 20–21, 23.) But motions to strike are
 8 disfavored. See Kohler, 280 F.R.D. at 563–64. Accordingly, the Court declines to
 9 strike these items.
10         SDS also argues that CCI’s defenses of estoppel, consent, unclean hands,
11 and laches do not give fair notice because CCI has not pleaded the elements of these
12 defenses or alleged facts to support them. (Doc. No. 33-1 at 21–22.) In this case,
13 however, the lengthy history between the parties alleged in the relevant complaints
14 provides the necessary factual content. Accordingly, the Court also declines to strike
15 these defenses.
16         Last, SDS asserts that the Court should strike CCI’s statute-of-limitations
17 defense because the dates alleged in the complaint are all within the limitations period
18 and CCI does not dispute them. (Doc. No. 33-1 at 22–23.) Once an affirmative
19 defense has been properly pleaded, however, a motion to strike should not be granted
20 unless it “appears to a certainty that plaintiffs would succeed despite any state of facts
21 which could be proved in support of the defense.” Barnes v. AT&T Pension Benefits
22 Plan, 718 F. Supp. 2d 1167, 1170 (N.D. Cal. 2010) (internal quotation marks omitted).
23 Accordingly, the Court denies SDS’s motion to strike CCI’s statute-of-limitations
24 defense as well.
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  1                                   CONCLUSION
  2        For the foregoing reasons, the Court grants in part and denies in part SDS’s
  3 motion to dismiss, and denies SDS’s motion to strike. (Doc. No. 33.) Specifically,
  4 the Court denies SDS’s motion to dismiss CCI’s declaratory-judgment counterclaim,
  5 but grants SDS’s motion to dismiss CCI’s UCL counterclaim without leave to amend
  6 at this time. The Court declines to dismiss any of CCI’s affirmative defenses.
  7        IT IS SO ORDERED.
  8 DATED: November 20, 2015
  9                                                  ________________________________
 10                                                  MARILYN L. HUFF, District Judge
                                                     UNITED STATES DISTRICT COURT
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